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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 MERCK & CO., INC.,

                    Plaintiff,

          v.                                         Civil Action No. 1:23-cv-01615-CKK

 XAVIER BECERRA, U.S. Secretary of
 Health and Human Services, et al.,

                    Defendants.


               DEFENDANTS’ NOTICE OF SUPPLEMENTAL AUTHORITY
       Defendants respectfully submit this notice of supplemental authority to inform the Court

of a March 1, 2024 Memorandum Opinion by the United States District Court for the District of

Delaware in AstraZeneca Pharmaceuticals LP v. Becerra, No. 1:23-cv-00931-CFC, 2024 WL

895036 (D. Del.), a copy of which is attached to this Notice.

       The plaintiffs in AstraZeneca challenged the constitutionality of the Drug Price Negotiation

Program created by the Inflation Reduction Act of 2022, Pub. L. No. 117-169, and the lawfulness

of guidance promulgated by the Centers for Medicare & Medicaid Services to implement that

Program. In particular, the AstraZeneca plaintiffs alleged that the Negotiation Program violated
the Fifth Amendment’s Due Process Clause.

       In a March 1, 2024 opinion, the court granted summary judgment in favor of the

Government on all claims. As relevant here, the court reached the merits of the due process claim

and determined that it “fails as a matter of law” because—among other things—“[n]either the IRA

nor any other federal law requires AstraZeneca to sell its drugs to Medicare beneficiaries.”

AstraZeneca, 2024 WL 895036, at 41. “On the contrary,” the court held, “participation in the

Medicare program is a voluntary undertaking.” Id. at 41 (citing Livingston Care Ctr., Inc. v. United

States, 934 F.2d 719, 720 (6th Cir. 1991); Dayton Area Chamber of Com. v. Becerra, No. 3:23-

cv-156, --- F. Supp. 3d ----, 2023 WL 6378423, at *11 (S.D. Ohio Sept. 29, 2023)). Notably, the
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court reached this conclusion over the plaintiffs’ objection that Medicare accounted for such a

large part of the “potential market for prescription drugs” that they had “a powerful incentive” to

participate. Id. at 43. Access to Medicare, the court observed, is not a “gun to the head” but rather

“is a potential economic opportunity that [the plaintiffs are] free to accept or reject.” Id. at 44.




Dated: March 4, 2024                               Respectfully submitted,

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